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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               WESTERN DIVISION

UNITED STATES OF AMERICA,

VS.                                            CRIMINAL ACTION NO. 3:07CR154-P-A

ALI OBAD and SHEILA
AL-SANABANI,                                                                  DEFENDANTS.

                                              ORDER

        This matter comes before the court upon Defendant Ali Obad’s Motion to Dismiss the

Indictment [61] and Defendant Sheila Al-Sanabani’s joinder therein. After due consideration of the

motion and the responses filed thereto, the court finds as follows, to-wit:

        The defendants move to dismiss the original Indictment filed on August 21, 2007 on the

grounds that the Indictment fails to (1) establish the necessary requisite jurisdictional language

regarding interstate commerce and (2) give constitutional notice of the actus rea and mens rea

involved in the alleged crimes.

        After the instant motion to dismiss was filed, the federal Grand Jury returned a Superceding

Indictment which was filed on April 16, 2008. Each count of the Superceding Indictment contains

the requisite interstate commerce language. Therefore, the motion to dismiss should be granted as

to the original Indictment but not as to the Superceding Indictment. Furthermore, the court finds that

the defendants argument that either Indictment fails to give adequate constitutional notice of the

actus rea and mens rea of each count is without merit and unsupported by any authorities,

mandatory or otherwise.

        IT IS THEREFORE ORDERED AND ADJUDGED that the defendants’ motion to

dismiss [61] is GRANTED insofar as the original Indictment is dismissed, but DENIED as to the

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Superceding Indictment.

       SO ORDERED this the 28th day of April, A.D., 2008.


                                                /s/ W. Allen Pepper, Jr.
                                                W. ALLEN PEPPER, JR.
                                                UNITED STATES DISTRICT JUDGE




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